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      AO l 06A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means
1


                                             UNITED STATES DISTRICT COURT
                                                                               for the
                                                               Southern District of California

                    In the Matter of the Search of                                  )
               (Briefly describe the property to be searched                        )
                or identify the person by name and address)
                                                                                    )              Case No.    '22 MJ1895
                             Blue i-phone                                           )
                Seizure No. 2022250400131001 - 0005                                 )
                          ("Target Device")                                         )

          APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
              I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
      penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
      property to be searched and give its location):
        See Attachment A, incorporated herein by reference.

      located in the             Southern               District of       California
                                                                      ----- - - - - - - - , there is now concealed (identify the
      person or describe the property to be seized):


       See Attachment B, incorporated herein by reference.

                The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                       fi evidence of a crime;
                       0 contraband, fruits of crime, or other items illegally possessed;
                       0 property designed for use, intended for use, or used in committing a crime;
                       0 a person to be arrested or a person who is unlawfully restrained.

                The search is related to a violation of:
                  Code Section                                                        Offense Description
              21 USC Sec. 952 and 960                   Importation of a Controlled Substance
              21 USC Sec. 963                           Conspiracy to Import

               The application is based on these facts:
              See Attached Affidavit, incorporated herein by reference.


                 ~ Continued on the attached sheet.
                0 Delayed notice of _ _ days (give exact ending date if more than 30 days:
                  18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet /




                                                                                                              Printed name and title

      Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                            telephone                       (,pecilj, ,·,Uab/e dee~ =


      Date:          May31,2022                                                                    ~
                                                                                                                Judge's signature

      City and state: San Diego, California                                               Hon. Karen S. Crawford, United States Magistrate Judge
                                                                                                              Printed name and title
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                                ATTACHMENT A

                         PROPERTY TO BE SEARCHED

The following property is to be searched:

      Blue i-phone
      Seizure No. 2022250400131001 - 0005
      ("Target Device")

The Target Device is currently in the possession of Homeland Security
Investigations, located at 880 Front Street, Suite 3200, San Diego, California
92101.
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                                ATTACHMENTB
                              ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space,
and temporary or permanent files contained on or in the cellular telephone for
evidence described below. The seizure and search of the cellular telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of April 29, 2022 , up to and including May 29, 2022:

      a.     tending to indicate efforts to import controlled substances from Mexico
             into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of controlled substances from Mexico into the
             United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in importation of methaphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation controlled substances from Mexico into the United States,
             such as stash houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and/or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960
and 963.
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 1                                            AFFIDAVIT
 2         I, Special Agent Ryan Hill, being duly sworn, hereby state as follows:
 3                                      INTRODUCTION
 4         1.    I submit this affidavit in support of an application for a warrant to search the
 5 following electronic device:
 6                       BlueiPhone
 7                       Seizure No. 2022250400131001 - 0005
 8                       ("Target Device ")
 9 as further described in Attachment A, and to seize evidence of crimes, specifically
1O violations of Title 21, United States Code, Sections 952, 960, and 963 as further described
11 in Attachment B. The requested warrant relates to the investigation and prosecution of
12 Alexandra MELINA-Ramirez ("Defendant") for importing approximately 1.12 kgs (2.46
13   lbs) of fentanyl,    approximately 41.12 kgs (90.46 lbs) of methamphetamine, and
14 approximately 2.12 kgs (4.66 lbs) of cocaine from Mexico into the United States .. The
15 Target Device is currently in the custody of Homeland Security Investigations and located
16 at 880 Front Street, Suite 3200, San Diego, California 92101.
17        2.     The information contained in this affidavit is based upon my training,
18 expenence, investigation, and consultation with other members of law enforcement.
19 Because this affidavit is made for the limited purpose of obtaining a search warrant for the
20 Target Device, it does not contain all the information known by me or other agents
21 regarding this investigation. All dates and times described are approximate.
22                                      BACKGROUND
23        3.     I have been employed as a Special Agent with Homeland Security
24 Investigations (HSI) since October of 2009. I am currently assigned to the HSI Office of
25 the Deputy Special Agent in Charge, in San Ysidro, California. I am a graduate of the
26 Federal Law Enforcement Training Center in Glynco, Georgia.
27        4.     During my tenure with HSI, I have participated in the investigation of various
28 narcotics trafficking organizations involved in the importation and · distribution of
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 1 controlled substances into and through the Southern District of California. Through my
 2 training, experience, and conversations with other law enforcement officers experienced in
 3 narcotics trafficking investigations, I have gained a working knowledge of the operational
 4 habits of narcotics traffickers, in particular those who attempt to import narcotics into the
 5 United States from Mexico at Ports of Entry.
 6         5.     I am aware that it is common practice for narcotics traffickers to work in
 7 concert utilizing cellular telephones. A common tactic utilized by narcotics traffickers is
 8 to smuggle controlled substances into the United States from Mexico by concealing the
 9 controlled substances in vehicles or on persons entering the United States at Ports of Entry
1O such as the San Ysidro Port of Entry and the Otay Mesa Port of Entry. With respect to the
11 importation of narcotics in this manner, I am aware that narcotics traffickers in Mexico
12 frequently communicate with the individual responsible for importing the concealed
13 narcotics into the United States. These communications can occur before, during and after
14 the narcotics are imported into the United States. For example, prior to the importation,
15 narcotics traffickers     frequently   communicate with the transporter(s) regarding
16 arrangements and preparation for the narcotics importation. When the importation is
17 underway, narcotics traffickers frequently communicate with the transporter(s) to remotely
18 monitor the progress of the narcotics, provide instructions and warn accomplices about law
19 enforcement activity. When the narcotics have been imported into the United States,
20 narcotics traffickers may communicate with the transporter(s) to provide further
21 instructions regarding the delivery of the narcotics to a destination within the United States.
22         6.     Based upon my training, experience, and consultations with law enforcement
23 officers experienced in narcotics trafficking investigations, and all the facts and opinions
24 set forth in this affidavit, I am aware that cellular telephones (including their SIM card( s))
25 can and often do contain electronic evidence, including, for example, phone logs and
26 contacts, voice and text communications, and data, such as emails, text messages, chats
27 and chat logs from various third-party applications, photographs, audio files, videos, and
28 location data. This information can be stored within disks, memory cards, deleted data,
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 1 remnant data, slack space, and temporary or permanent files contained on or in the cellular
 2 telephone. Specifically, searches of cellular telephones of individuals involved in the
 3 importation of narcotics may yield evidence:
 4
          a.     tending to indicate efforts to import controlled substances from Mexico
 5               into the United States;
 6
          b.     tending to identify accounts, facilities, storage devices, and/or services-
 7               such as email addresses, IP addresses, and phone numbers-used to
                 facilitate the importation of controlled substances from Mexico into the
 8
                 United States;
 9
          C.     tending to identify co-conspirators, criminal associates, or others involved
10
                 in importation of controlled substances from Mexico into the United
11               States;
12
          d.     tending to identify travel to or presence at locations involved in the
13               importation of controlled substances from Mexico into the United States,
                 such as stash houses, load houses, or delivery points;
14
15        e.     tending to identify the user of, or persons with control over or access to,
                 the Target Device; and/or
16
17        f.     tending to place in context, identify the creator or recipient of, or establish
                 the time of creation or receipt of communications, records, or data involved
18
                 in the activities described above.
19
                       FACTS SUPPORTING PROBABLE CAUSE
20
          7.     On May 28, 2022, at approximately 10:34 PM, Alexandra MELINA-
21
22 Ramirez, ("MELINA"), a United States citizen, applied for entry into the United
23 States from Mexico through the San Ysidro Port of Entry in vehicle lane #28.
24
     MELINA was the driver and sole occupant of a black 2022 Mercedes E350W ("the
25
26 vehicle") bearing California license plates.
27
           8.    A Customs and Border Protection Officer received two negative Customs
28
     declarations from MELINA. MELINA stated she was going home to Los Angeles.
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 l The CBPO asked what she did for work and MELINA replied she did not work but

 2 was a student studying to become an aesthetician. When the CBPO asked how she
 3
     could afford the vehicle, MELINA replied it was a lease. During a search of the trunk
 4
 5 the CBPO discovered plastic wrapped packages in the side panel.
 6
           9.     A CBPO operating the Z-Portal X-Ray machine detected anomalies in
 7
     the rear quarter panels and the trunk of the vehicle.
 8
 9         10.    Further inspection of the vehicle resulted in the discovery of 88 total
10
     packages concealed in the trunk and rear quarter panels of the vehicle. 85 of the
11
12 packages contained a substance, a sample of which field tested positive for the
13 characteristics of methamphetamine, with a total approximate weight of 41.12 kgs
14
   (90 .46 lbs); 2 of the packages contained a substance, a sample of which field tested
15
16 positive for the characteristics of cocaine, with a total approximate weight of 2.12 kgs
17
     (4.66 lbs); 1 package contained a substance, a sample of which field tested positive for
18
     the characteristics offentanyl, with a total approximate weight of 1.12 kgs (2.46 lbs).
19
20         11.    A CBPO utilized a GEMINI device to analyze the contents of the
21
     packages discovered in the vehicle MELINA was driving. The CBPO tested a
22
23 package with a white crystal-like substance that field tested positive for the properties
24 of methamphetamine. The CBPO tested two packages, one marked with a "T" and
25
   one marked "XXX". Both of these packages field tested positive for the properties of
26
27 cocaine. The CBPO received a "no results found" reading when testing a package
28 marked with an "A", but used a rapid response fentanyl test kit as a secondary testing
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     method and received a positive response for the properties of fentanyl.
 1
 2
           12.    The Target Device was found and seized by a Customs and Border Protection
 3
     Officer (CBPO) who was tasked to perform a secondary inspection of the Vehicle and
 4
     inventory all the property seized from the Defendant and her Vehicle.
 5
           13.    Based upon my experience and training, consultation with other law
 6
     enforcement officers experienced in narcotics trafficking investigations, and all the facts
 7
     and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
 8
     electronic mail ( email) addresses, appointment dates, messages, pictures and other digital
 9
     information are stored in the memory of the Target Device. In light of the above facts and
10
     my experience and training, there is probable cause to believe that Defendant was using
11
     the Target Device to communicate with others to further the importation of illicit narcotics
12
     into the United States. Further, in my training and experience, narcotics traffickers may be
13
     involved in the planning and coordination of a drug smuggling event in the days and weeks
14
     prior to an event. Co-conspirators are also often unaware of a defendant's arrest and will
15
     continue to attempt to communicate with a defendant after their arrest to determine the
16
     whereabouts of the narcotics. Based on my training and experience, it is also not unusual
17
     for individuals, such as Defendant, to attempt to minimize the amount of time they were
18
     involved in their smuggling activities, and for the individuals to be involved for weeks and
19
     months longer than they claim. Accordingly, I request permission to search the Target
20
     Device for data beginning on April 29, 2022, up to and including May 29, 2022.
21
                                        METHODOLOGY
22
           14.    It is not possible to determine, merely by knowing the cellular telephone's
23
     make, model and serial number, the nature and types of services to which the device is
24
     subscribed and the nature of the data stored on the device. Cellular devices today can be
25
     simple cellular telephones and text message devices, can include cameras, can serve as
26
     personal digital assistants and have functions such as calendars and full address books and
27
     can be mini-computers allowing for electronic mail services, web services and rudimentary
28
     word processing. An increasing number of cellular service providers now allow for their
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 1 subscribers to access their device over the internet and remotely destroy all of the data
 2 contained on the device. For that reason, the device may only be powered in a secure
 3 environment or, if possible, started in "flight mode" which disables access to the network.
 4 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 5 equivalents and store information in volatile memory within the device or in memory cards
 6 inserted into the device. Current technology provides some solutions for acquiring some of
 7 the data stored in some cellular telephone models using forensic hardware and software.
 8 Even if some of the stored information on the device may be acquired forensically, not all
 9 of the data subject to seizure may be so acquired. For devices that are not subject to forensic
10 data acquisition or that have potentially relevant data stored that is not subject to such
11 acquisition, the examiner must inspect the device manually and record the process and the
12 results using digital photography. This process is time and labor intensive and may take
13 weeks or longer.
14         15.    Following the issuance of this warrant, I will collect the Target Device and
15 subject it to analysis. All forensic analysis of the data contained within the telephone and
16 its memory cards will employ search protocols directed exclusively to the identification
17 and extraction of data within the scope of this warrant.
18         16.    Based on the foregoing, identifying and extracting data subject to seizure
19 pursuant to this warrant may require a range of data analysis techniques, including manual
20 review, and, consequently, may take weeks or months. The personnel conducting the
21   identification and extraction of data will complete the analysis within ninety (90) days of
22 the date the warrant is signed, absent further application to this court.
23
24                      PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
25         17.    Law enforcement has not previously attempted to obtain the evidence sought
26 by this warrant.
27
28                                        CONCLUSION
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 1         Ii~    Based on the facts and information set forth above, I submit there is probable
 2 cause to believe that a search of the Target Device will yield evidence of Defendant's
 3 violations of Title 21, United States Code, Sections 952, 960 and 963. Accordingly, I
 4 request that the Court issue a warrant authorizing law enforcement to search the item
 5 described in Attachment A, and seize the items listed in Attachment B using the above-
 6 described methodology.
 7

 :   I swear the foregoing is true and correct to the best of mw             d belief.


10
                                             S c
                                                        ~
                                                    /Agent Ryan Hill
11
                                             Homeland Security Investigations
12
     Sworn and attested to under oath by telephone, in accordance with Federal Rule of
13
     Criminal Procedure 4.1, this 31st day of May, 2022.
14

15
16 Hono     e aren S. Crawford
   United States Magistrate Judge
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